EXHIBIT A
RECENT TRENDS IN
SECURITIES CLASS
ACTION LITIGATION:
2024 H1 UPDATE
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                                                    1




 Standard Filings Increased Slightly, Account for
 Nearly All New Filings

 Resolutions on Track to Exceed 2023 Levels




6 August 2024
      SUMMARY
    There were 112 new federal securities class action suits filed in the first half of 2024. Of these, 106
    were standard cases containing alleged violations of Rule 10b-5, Section 11, and/or Section 12, and
    15 standard cases were filed against foreign companies. Filings against companies in the electronic
    technology and technology services and the health technology and services sectors accounted for
    54% of filings, and the Second and Ninth Circuits accounted for approximately 60% of filings. Among
    filings of standard cases, 38% had an allegation related to missed earnings guidance.

    Suits with AI-related claims have begun to be filed, with six such suits seen through June 2024.
    Crypto- and SPAC-related filings declined relative to 2023, with only three and five suits filed in each
    category, respectively. On the other hand, cases with COVID-related claims continued to be filed,
    with eight suits filed through June 2024.

    There were 100 cases resolved in the first half of the year, consisting of 52 dismissals and 48
    settlements. Assuming resolutions continue at this pace in the second half of 2024, the number of
    resolved cases would exceed the 190 seen in 2023. Excluding settlements of $1 billion or more, the
    average settlement value declined by approximately 25% in 2024 H1 to $26 million. Similarly, the
    median settlement value declined by 40% to $9 million. Aggregate settlements totaled $1.2 billion
    through June 2024, while five large settlements totaling $1.5 billion are set to have their settlement-
    approval hearings in the second half of the year.




1                                                                    ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
                                TRENDS IN FILINGS
      During the first half of 2024, 112 new federal securities class action cases were filed (see Figure
      1).2 Standard cases, which contain alleged violations of Rule 10b-5, Section 11, and/or Section 12,
      accounted for 95% of all new filings with 106.3 Filings with Rule 10b-5-only claims comprised the
      majority of standard cases with 96 filings. On the other hand, cases involving merger objections and
      crypto unregistered securities have continued to decline, with only two suits filed in each category,
      respectively.4 Assuming filings continue at the same pace in the second half of 2024, annual filings for
      2024 would be 224, roughly in line with 2023 levels. See Figure 2.


      Figure 1. Federal Filings and Number of Companies Listed in the United States
                January 1996–June 2024

                                550                                                                                                                           IPO Laddering Filings                                   10,000
                                            8,884                                                                                                             Filings, Excluding IPO Laddering
                                500                                                                                                                                                                                   9,000
                                                    8,390                                                                                                     Listings
                                      8,783              7,887                                                                                                2024 H2 Projection
                                450
                                                                                                                                                                                                                      8,000
                                                                      7,133




                                                                                                                                                                                                                               Number of Listed Companies
                                400
    Number of Federal Filings




                                                        7,421                                                                                                                                                         7,000
                                                                               6,159
                                                                    310




                                350                                                  6,029 5,941                                                                                            6,174
                                                                          6,587                                                                                                                           5,704       6,000
                                                                                 6,097 6,005     5,179                                                                                         6,093
                                300                                                                                     4,886 4,865 5,060 4,853 4,877                                                       5,598
                                                                          3




                                                                                                              5,472                                                                                                   5,000
                                                                                                                                  5,064               5,162




                                                                                                                                                                                                                224
                                250                                                                                 5,006               4,865 4,936
                                                                                                                           4,808
                                                                                                                                                                          432                                         4,000
                                                                                                                                                                    421

                                200                                                                                                                                             413




                                                                                                                                                                                                                112
                                                                                                                                                                                      327                             3,000
                                                                                                                                                              291




                                150
                                                  274




                                                                          274




                                                                                                              248
                                                                                      245
                                                        241




                                                                                237
                                                              234




                                                                                                                                230
                                                                                                                          228




                                                                                                                                                        228




                                                                                                                                                                                                          228
                                                                                                                                            221
                                                                                                                                                  216




                                                                                                                                                                                             210
                                                                                                                                      207




                                                                                                                                                                                                                      2,000
                                                                                                                    205




                                                                                                                                                                                                    206
                                            201




                                                                    198




                                                                                                        195
                                                                                            188




                                100
                                                                                                  133
                                      131




                                                                                                                                                                                                                112
                                 50                                                                                                                                                                                   1,000

                                 0                                                                                                                                                                                    0
                                      19 6
                                      19 7
                                      19 8
                                      20 9
                                      20 0
                                      20 1
                                      20 2
                                      20 3
                                      20 4
                                      20 5
                                      20 6
                                      20 7
                                      20 8
                                      20 9
                                      20 0
                                      20 1
                                      20 2
                                      20 3
                                      20 4
                                      20 5
                                      20 6
                                      20 7
                                      20 8
                                      20 9
                                      20 0
                                      20 1
                                      20 2
                                      20 3
                                        24
                                        9
                                        9
                                        9
                                        9
                                        0
                                        0
                                        0
                                        0
                                        0
                                        0
                                        0
                                        0
                                        0
                                        0
                                        1
                                        1
                                        1
                                        1
                                        1
                                        1
                                        1
                                        1
                                        1
                                        1
                                        2
                                        2
                                        2
                                        2
                                  19




                                                                                                                    Filing Year

                                      Note: Listed companies include those listed on the NYSE and Nasdaq. Listings data obtained from World Federation of
                                            Exchanges (WFE). The 2024 listings data are as of May 2024.




2                                                                                                                                                       ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
          Figure 2. Federal Filings by Type
                    January 2015–June 2024

                                500                                                                         Crypto Unregistered Securities Filings
                                                                                                            Merger Objection Filings

                                450                                                                         Other Filings
                                                                   432
                                                        421                                                 Rule 10b-5 Filings
                                                                    11    413
                                                               5
                                                                                 4                          Rule 10b-5 and Section 11 and/or Filings
                                400
                                                                                                            Section 11 and/or 12 Filings
                                                                                                          2024 H2 projections are italicized and
                                350                                                                       denoted with crosshatching.
                                                                                     327
    Number of Federal Filings




                                                                          164        12
                                                        205        202
                                300          291
                                                    1

                                                                                     104
                                250
                                      228     92                           8                                                   228
                                                                                                                                           2 224 2
                                                                                               210              206            11 7        2     2
                                                         8          9                                                                      2     2
                                200   42                                              7               3                            4
                                                                                                15               16
                                              12                                                      4
                                      12                                                                         9 1
                                                                                                                                                      96
                                150
                                                                          196
                                                        181        185               181                        137            184
                                                                                               157
                                100   148    169

                                                                                                                                                96
                                50
                                                                          16                                     22
                                       14                           8                5          14
                                               8         13               25                                     21            13          7          7
                                       12      9          9        17                18         17                              9                     3
                                 0                                                                                                         3
                                      2015   2016       2017       2018   2019       2020      2021             2022          2023             2024

                                                                           Filing Year



     The electronic technology and technology services sector and the healthcare technology and services
     sector together comprised 54% of new filings in the first half of 2024, up from 41% in 2023. On the
     other hand, the percentage of suits in the finance sector declined by more than one-third to 11%,
     partially due to a decline in filings against banking institutions. See Figure 3.




3                                                                                           ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
    Figure 3. Percentage of Filings by Sector and Year
              Excludes Merger Objections and Crypto Unregistered Securities
              January 2020–June 2024

                                                                                                                                                 2020
                                                                       23%                                                  2%
                                                                                   30%                                       4%                  2021
    Electronic Technology and                                                                                                       9%
                                                                            26%                         Retail Trade
          Technology Services                                         22%                                                      5%                2022
                                                                              28%                                             4%
                                                                                                                                                 2023

                                                                      22%                                                      6%                2024
                                                                            26%                       Consumer and          2%
            Health Technology                                                27%                                             4%
                 and Services                                   19%                            Distribution Services         4%
                                                                            26%                                              4%

                                                             17%                                                              6%
                                                      11%                                                                   4%
                       Finance                   8%                                              Process Industries        2%
                                                               18%                                                          3%
                                                      11%                                                                   4%

                                            6%                                                                               3%
          Consumer Durables                        9%                                                Transportation        1%
                                                   9%                                                                        4%
           and Non-Durables                        9%                                                   and Utilities       3%
                                                    10%                                                                      4%

                                        3%                                                                                 1%
              Commercial and             5%                                                                                1%
                                           7%                                                      Communications         0%
            Industrial Services             7%                                                                               3%
                                         5%                                                                                 2%

                                         4%                                                                                    6%
          Producer and Other            4%                                                            Energy and             4%
                                        3%                                                                                  2%
              Manufacturing                   6%                                              Non-Energy Minerals          1%
                                       3%                                                                                   2%


    Note: This analysis is based on the FactSet Research Systems, Inc. economic sector classiﬁcation. Some of the FactSet economic sectors are
          combined for presentation.




    The Second and Ninth Circuits continue to be the jurisdictions in which the majority of cases are filed,
    together accounting for 65 of the 108 non-merger-objection, non-crypto unregistered securities
    filings in the first half of 2024, though the number of filings in each circuit have been trending in
    different directions. While the Ninth Circuit witnessed 42 new filings and is on track to exceed last
    year’s total of 66 filings, the Second Circuit saw 24 new filings and is projected to have its lowest
    annual filings in the last five years. While the pace of filings in the Third Circuit declined relative to
    2023, they remain elevated, with 12 suits filed through June 2024. See Figure 4.




4                                                                                              ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
       Figure 4. Federal Filings by Circuit and Year
                 Excludes Merger Objections and Crypto Unregistered Securities
                 January 2020–June 2024

                                100                                                             2020       2021     2022   2023        2024     2024 H2 Projection


                                90

                                                                                                                                          82
                                                         80
                                80

                                                              71                                                                  72
                                70                      69
                                                                                                                                        66
    Number of Federal Filings




                                60                                                                                                        41
                                                               54                                                                 55 54

                                50                                 48


                                40
                                                                    24         35

                                30
                                                                                24
                                                                        22
                                                                                                                                         41
                                20                                              12
                                                                        15                                                                               14
                                                                          14                       12
                                                               24                            11                     12
                                10                                                                                                                   10
                                                                                        8 8    8 86 8     88     7   6                                 76 6
                                               5 4 66                                 6 6        6    6      6     6         4                 6 7 6
                                                                                 12 3      4               4   4        3                       3 43
                                           2        3                                                   2                                                  3
                                      11                                                   4        6      4         6 2 122
                                 0                  3                                                                        2                     3       3
                                      DC       1st           2nd             3rd       4th      5th    6th      7th      8th           9th      10th      11th

                                                                                                 Circuit



     Among filings of standard cases, 38% included an allegation related to missed earnings guidance and
     32% included an allegation related to misled future performance.5 On the other hand, the percentage
     of standard cases containing an allegation related to accounting issues declined to 12%. See Figure 5.




5                                                                                                                 ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
       Figure 5. Allegations
                 Shareholder Class Actions with Alleged Violations of Rule 10b-5, Section 11, and/or Section 12
                 January 2020–June 2024

                                    45%
                                                                                                                                       2020          2021            2022        2023              2024

                                    40%


                                    35%
    Percentage of Federal Filings




                                    30%


                                    25%


                                    20%




                                                                                                            39%
                                                                                                38%



                                                                                                      36%


                                                                                                                  33%


                                                                                                                              32%
                                                                                          31%



                                    15%




                                                                                                                        29%




                                                                                                                                                   27%
                                          27%




                                                                                                                                                         26%
                                                                              23%
                                                                                    23%
                                                                        22%
                                                      22%




                                                                                                                                       22%
                                                            21%




                                                                                                                                             20%
                                    10%




                                                                                                                                                               19%
                                                18%




                                                                                                                                                                                       17%
                                                                                                                                                                                 16%
                                                                  12%




                                                                                                                                                                                             11%
                                    5%




                                                                                                                                                                                                   7%
                                                                                                                                                                            6%
                                    0%
                                          Accounting Issues              Missed Earning                 Misled Future                  Regulatory Issues                Merger-Integration
                                                                           Guidance                     Performance                                                          Issues



        While the percent of foreign companies listed on US exchanges has been steadily increasing in recent
        years, there has been a decline in the percent of federal filings against foreign companies since 2020.6
        In 2024, 14.2% of filings of standard cases were against foreign companies, compared to 24.7% of
        US listings represented by foreign companies (see Figure 6). There were 15 filings against foreign
        companies so far this year, of which nine have been against companies domiciled in Asia (see Figure 7).




6                                                                                                                                   ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
     Figure 6. Foreign Companies: Share of Filings and Share of Companies Listed on US Exchanges
               Shareholder Class Actions with Alleged Violations of Rule 10b-5, Section 11, and/or Section 12
               January 2015–June 2024

                                                   35%     % of US Filings Against Foreign Companies
                                                           % of US Listings Represented by Foreign Companies
                                                                                                                         30.9%
                                                   30%
    Percentage of Filings/Percentage of Listings




                                                                                  24.6%                  24.1%
                                                   25%                                                                                 24.5%
                                                                     22.6%                                                                                      24.7%
                                                         21.3%                                                                                 23.8%    24.1%
                                                                                               20.0%                                22.7%
                                                   20%
                                                                                                                         20.5%                 20.0%
                                                                                                           19.8%
                                                                                               18.7%                                                   18.9%
                                                                                  18.0%
                                                         17.4%       17.4%
                                                   15%
                                                                                                                                                                14.2%

                                                   10%



                                                   5%



                                                   0%
                                                         2015        2016         2017         2018        2019          2020       2021       2022      2023   2024

                                                                                                                 Filing Year




7                                                                                                                                ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
     Figure 7. Filings Against Foreign Companies
               Shareholder Class Actions with Alleged Violations of Rule 10b-5, Section 11, or Section 12 by Region
               January 2015–June 2024

                                70                                                                                                          China/Hong Kong
                                                                                                                                            Other
                                                                                                                 63
                                                                                                                                            Europe
                                60
                                                                                                  57                                        Canada
                                                                                                                                            Asia (Ex-China/Hong Kong)
                                                                       50                                        22
                                50                                                                                                     2024 H2 projections are italicized
    Number of Federal Filings




                                                                                                  17                           46      and denoted with crosshatching.

                                                        42             13            42
                                40                       4                                                                                            39
                                          37                                                       3                                   36
                                                                       4                                         10
                                                         9                           15                                        23                     10
                                                                                                                                                                   30
                                30        15                                                                                           12
                                                                                                                                                      3                     3
                                                                                     4            24                                                                3
                                                                       20                                        15                    2
                                                        16                                                                      4                                           4
                                20
                                                                                                                                                      14            4
                                          11                                         15                                                13
                                                                                                                                9                                           2
                                                                                                                                                                    2
                                10                       6             6                                         11                                   3
                                           5                                                      10                                                                        6
                                                                                                                                6      4
                                           2                                         6                                                                9
                                                         7             7                                             5                                              6
                                           4                                                       3                            4      5
                                0                                                    2
                                         2015          2016          2017          2018          2019           2020           2021   2022           2023         2024

                                                                                                       Filing Year

                                     Note: Foreign issuer status determined based on location of principal executive ofﬁces.




                          EVENT-DRIVEN AND OTHER SPECIAL CASES
    In this section, we summarize trends in filings in potential development areas we have identified for
    securities class actions since 2020 (see Figure 8). Note that due to the small number of cases in some
    categories, the findings summarized here may be driven by one or two cases.

    Artificial Intelligence
    Interest in artificial intelligence has increased in recent years, with companies increasingly mentioning
    AI in company filings.7 This has started to translate into securities class action suits, a new special
    cases group we are introducing in this report. In the first half of 2024, there were six AI-related
    filings in which companies are alleged to have overstated the use or effectiveness of AI in either their
    own or their clients’ businesses. Among these include suits against Innodata Inc. with allegations the
    company misrepresented the use of AI in its software platforms; Evolv Technologies Holdings, Inc., in
    which plaintiffs allege the company overstated the effectiveness of its AI-based weapons detection
    products; and UiPath, Inc. in connection with the failure of its AI-based turnaround strategy. Other
    AI-related cases filed in previous years include 2023 filings against car manufacturing companies
    Tesla and General Motors, with claims related to autonomous vehicle (AV) technology that uses AI.
    Many older cases are focused on allegations related to machine learning capabilities.


8                                                                                                                        ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
    Banking Turmoil
    Between March and May 2023, there was a string of bank collapses and failures involving Silvergate
    Bank, Silicon Valley Bank, Signature Bank, First Republic Bank, and Credit Suisse.8 This led to 11
    securities class action suits filed against banking institutions in 2023, representing nearly 30% of all
    filings in the finance sector that year. While there have been no filings associated with banking turmoil
    so far in 2024, there was a suit filed against New York Community Bancorp, Inc. in connection with
    losses stemming from its acquisition of Flagstar Bank and Signature Bank.

    Crypto
    Crypto-related filings, comprised of cases involving unregistered securities and shareholder suits
    involving companies operating in or adjacent to the cryptocurrency industry, have been elevated
    in recent years, though have declined in the first half of 2024. While full-year 2023 saw 16 crypto-
    related filings, there were only three such filings seen in the first six months of 2024.

    Environment
    There have been four environment-related securities class action suits filed in the first half of 2024,
    on track to match the eight cases filed in 2023. Among the cases filed this year include a suit against
    Cummins Inc. alleging unlawful use of emissions defeat devices in engines, a filing against SSR Mining
    Inc. in connection with a landslide in a Turkish mine, and two cases with allegations of environmental
    violations involving GrafTech International Ltd. and AXT, Inc.

    Cybersecurity and Customer Privacy Breach
    From 2020 to 2023, there were at least two securities class action suits filed each year related to a
    cybersecurity and/or customer privacy breach. While 2024 has seen several data breaches stemming
    from a hack affecting customers using Snowflake data cloud platforms, so far there have been no
    securities class action filings in this area.9

    COVID-19
    While it has been over four years since the start of the COVID-19 pandemic and over a year since
    the WHO declared an end to COVID-19 as a global health emergency,10 suits with COVID-19-related
    claims continue to be filed. There were eight such suits in the first half of 2024, on track to exceed last
    year’s total of 13 filings, assuming the current pace of such filings continues.

    SPAC
    Filings related to special purpose acquisition companies (SPACs) have continued to decline since their
    peak in 2021, when 36 securities class action suits were filed. There were only five SPAC-related
    filings in the first half of 2024. This trend is consistent with the decline in SPAC IPOs in recent years,
    which saw a high of 613 in 2021 but dropped to only 19 in 2024.11




9                                                                     ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
     Figure 8. Event-Driven and Other Special Cases by Filing Year
               January 2020–June 2024


                                             5 2020                                                           2024 H2 projections are italicized
                                                                                                              and denoted with crosshatching.
                                                     8 2021
                                                 6 2022
                                                 6 2023
       Artiﬁcial Intelligence                    6                        2024
                                                                     6


                                0 2021
                                1 2022
                                                                  11 2022
         Banking Turmoil        0 2024

                                                                        14 2020
                                                                    12 2021
                                                                                                          27 2021
                                                                                 14 2023
              Crypto                3                2024
                                                 3

                                             5 2020
                                1 2021
                                  2 2022
                                                      8 2023
           Environment                   4              2024
                                                      4

                                         4 2020
                                                 7 2021
                                             5 2022
        Cybersecurity and         2 2023
     Customer Privacy Breach    0 2024


                                                                                                                     31 2020
                                                                                             20 2021
                                                                                             20 2022
                                                                      13 2023
           COVID-19                                    8                              2024
                                                                                  8

                                                     7 2020
                                                                                                                                     36 2021
                                                                                                        26 2022
                                                                                       18 2023
              SPACs                          5                     2024
                                                              5


                                                                      Number of Federal Filings




       TRENDS IN RESOLUTIONS
     There were 100 cases resolved in the first half of 2024, of which 52 were dismissed and 48 were
     settled.12 Standard cases accounted for the most resolutions, comprising 91 of 100 resolved cases.
     Assuming resolutions continue at this pace for the rest of the year, the number of resolved cases for
     2024 will be 200, which would represent a 5% increase relative to the 190 resolved cases seen in
     2023. See Figure 9.


10                                                                                             ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
      Figure 9. Number of Resolved Cases: Dismissed or Settled
                January 2015–June 2024

                               450                                                                              Crypto Unregistered Securities Filings
                                                                                                                Merger Objection Filings
                                                                                                                Other Cases Settled
                               400                                                                              Standard Cases Settled
                                                   384    379
                                                                                                                Crypto Unregistered Securities Dismissed
                                                          31                                                    Merger Objections Dismissed
                                                                     346
                               350                 69     4                         337 1                       Other Cases Dismissed
                                                                      16        1
                                                                      5                    3                    Standard Cases Dismissed
     Number of Federal Cases




                                                    3     73
                               300                                                                          2024 H2 projections are italicized and denoted
                                                                                    70                      with crosshatching.
                                                                      77
                                            266
                                                   83            3                                   253 1
                                             19                                            1
                               250                                          3                    2
                                     228      5                                                             4
                                                                                                                       223 3
                                      18                                                                          2
                                       8                                                             80                       3                      200
                               200           90                                                                                       190 2      1          1
                                                          149                       141                                           1              3          3
                                                                                                                                             2
                                                   124               153                                               104                                  44
                                      89                                                             9
                               150
                                                                                                     25                               85
                                             52                                                 1                                                    44
                                                           7                         9                                        3
                               100    25            5                                                                  12                    2   3          3
                                             7                                                                     3              1 7
                                      14                              10                                                                         2          2
                                                                                                     131                                                    47
                               50                  100    112                       111
                                             93                       82                                               93             90
                                      74
                                                                                                                                                     47
                                0
                                     2015   2016   2017   2018       2019           2020             2021              2022           2023           2024

                                                                     Resolution Year




       Since 2015, more filed cases have been dismissed than settled, while approximately 30% of filings
       remain pending (see Figure 10). For cases dismissed between 2015–2021, the median time from
       filing of the first complaint to resolution was relatively stable at around 1.4 years. Since 2021, the
       median time to dismissal has increased, reaching a peak of 2.2 years in the first half of 2024. Similarly,
       for cases settled between 2015–2021, the annual median time from filing of the first complaint to
       resolution was relatively stable at around three years. While the median time to settlement sharply
       increased to nearly four years in 2023, it has dropped back to 3.1 years in the first half of 2024. (See
       Figure 11).




11                                                                                             ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
       Figure 10. Status of Cases as Percentage of Federal Filings by Filing Year
                  Excludes Merger Objections, Crypto Unregistered Securities, and Verdicts
                  January 2015–June 2024

                                                                                                                                                Dismissed        Pending       Settled

                               100%                                                                                                                             0%
                                                                                                                                                  7%
                                                                                                                                   17%
                                                                                                                      27%
                                     80%                                                 37%
                                               42%                         42%                         40%
                                                             43%
     Percentage of Federal Filings




                                                                                                                     17%           37%
                                     60%                                                  9%                                                     67%
                                                      2%                    3%                          8%
                                                              5%                                                                                               90%
                                                                                                                                                                             100%

                                     40%


                                               56%                         55%           55%                          56%
                                                             52%                                       52%
                                                                                                                                   46%
                                     20%

                                                                                                                                                  26%

                                                                                                                                                               10%
                                     0%
                                               2015          2016          2017          2018          2019          2020          2021          2022          2023          2024

                                                                                                             Filing Year

                                           Note: Dismissals may include dismissals without prejudice and dismissals under appeal. Component values may not add to 100% due to rounding.




12                                                                                                                            ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
        Figure 11. Median Time From First Complaint Filing to Resolution
                   Excludes Merger Objections, Crypto Unregistered Securities, and Verdicts
                   January 2015–June 2024

                                         4.5

                                                      Settlements
                                         4.0          Dismissals
                                                                                                                             3.9



                                         3.5
                                               3.5            3.1                            3.2
     Median Time to Resolution (Years)




                                                                                                                       3.2
                                                                           3.0
                                         3.0                                                                                        3.1
                                                                                  3.0
                                                                    2.8                                2.7
                                         2.5


                                                                                                                                    2.2
                                         2.0


                                         1.5                                                                     1.7         1.7
                                                                           1.5    1.5
                                                                                             1.4        1.4
                                                1.4
                                         1.0                  1.2
                                                                    1.1


                                         0.5


                                         0.0
                                               2015          2016   2017   2018   2019       2020      2021     2022         2023   2024

                                                                                  Resolution Year




                                         TRENDS IN SETTLEMENT VALUES                                            13




            For cases settled in the first half of 2024, around 52% settled for less than $10 million while only 12%
            settled for $50 million or more (see Figure 12). The largest settlement consisted of a $192.5 million
            recovery in a matter involving Rite Aid Corporation. Excluding settlements of $1 billion or more,
            the average settlement value was $26 million, a $9 million decline compared to the 2023 inflation-
            adjusted average settlement value of $35 million (see Figure 13). The median settlement value was $9
            million, a 40% decline from the 2023 inflation-adjusted median settlement value of $15 million (see
            Figure 14).




13                                                                                                  ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
         Figure 12. Distribution of Settlement Values
                    Excludes Merger Objections, Crypto Unregistered Securities, and Settlements for $0 to the Class
                    January 2020–June 2024

                                   60%     59%
                                                                                                         2020          2021      2022        2023           2024

                                                      52%

                                   50%
                                         45%
     Percentage of Settled Cases




                                               42%42%
                                   40%




                                   30%
                                                                                                   26%
                                                            24%   25%                       25%

                                                              20%
                                   20%
                                                                    16%                    17%
                                                                                 15%


                                                                          10%                                        10%                               9%
                                   10%                                                9%                                8%              8%        8%
                                                                                                                7%           7% 7%
                                                                                                                                                            5%
                                                                                                                                             4%

                                   0%
                                           Less than $10      $10–$19.9                $20–$49.9                     $50–$99.9           $100 or Greater

                                                                                Settlement Size ($Million)




14                                                                                                       ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
           Figure 13. Average Settlement Value
                      Excludes Settlements of $1 Billion or Higher, Merger Objections, Crypto Unregistered Securities,
                      and Settlements for $0 to the Class
                      January 2015–June 2024


                                           70   $69
                                                                             Nominal $         Inﬂation Adjustment          +   $ Adjusted for Inﬂation



                                           60          $58
     Average Settlement Value ($Million)




                                           50


                                                                                                                     $40
                                           40                        $38
                                                                                         $35                                    $35
                                                                            $34

                                           30                 $29
                                                                                                                                              $26
                                                $52                                                   $24
                                                       $45
                                           20
                                                                                                                     $37
                                                                                                                                $34
                                                                     $31                 $29
                                                                            $28                                                               $26
                                           10                 $22                                     $21



                                           0
                                                2015   2016   2017   2018   2019         2020         2021           2022       2023         2024
                                                                            Settlement Year




15                                                                                                ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
         Figure 14. Median Settlement Value
                    Excludes Settlements of $1 Billion or Higher, Merger Objections, Crypto Unregistered Securities,
                    and Settlements for $0 to the Class
                    January 2015–June 2024

                                          18
                                                                             Nominal $          Inﬂation Adjustment         +   $ Adjusted for Inﬂation

                                          16                        $16
                                                                           $15           $15
                                                                                                                                $15
                                                                                                                      $14
                                          14
     Median Settlement Value ($Million)




                                          12          $11


                                          10
                                               $9                                                      $9
                                                                                                                                              $9

                                          8
                                                             $7
                                                                                                                                $14
                                                                    $13                  $13                          $13
                                          6                                $12


                                                      $9                                                                                      $9
                                          4                                                            $8
                                               $7
                                                             $6
                                          2


                                          0
                                               2015   2016   2017   2018   2019          2020        2021         2022          2023          2024

                                                                            Settlement Year




      Aggregate settlements for the first six months of 2024 totaled $1.2 billion, comprising 31% of
      the inflation-adjusted total of $4.0 billion in full-year 2023. It should be noted that several large
      settlements announced in the first half of the year, such as Apple Inc. ($490 million),14 Under Armor,
      Inc. ($434 million),15 Alphabet Inc. ($350 million),16 Zoom Video Communications, Inc. ($150 million),17
      and Perrigo Company plc ($97 million)18 are slated for settlement-approval hearings in the second half
      of 2024. As such, the aggregate settlement value in the second half of 2024 would be expected to
      exceed the $1.2 billion seen in the first half of 2024.




16                                                                                                ECONOMICS. EXPERTS. EXPERIENCE. | www.nera.com
        NOTES
     1 This midyear edition of NERA’s “Recent Trends in            6 A company is considered to be a foreign company
       Securities Class Action Litigation” report expands            based on the location of its principal executive office.
       on previous work by our colleagues Lucy P. Allen,           7 Matthew Bultman, “AI Disclosures to SEC Jump as
       Dr. Vinita Juneja, Dr. Denise Neumann Martin, Dr.
                                                                     Agency Warns of Misleading Claims,” Bloomberg Law,
       Jordan Milev, Robert Patton, Dr. Stephanie Plancich,
                                                                     dated 8 February 2024, available online at: https://
       Janeen McIntosh, and others. The authors thank
                                                                     news.bloomberglaw.com/securities-law/ai-disclosures-
       Dr. David Tabak and Benjamin Seggerson for helpful
                                                                     to-sec-jump-as-agency-warns-of-misleading-claims.
       comments on this edition. We thank Vlad Lee, Daniel
       Klotz, and other researchers in NERA’s Securities and       8 Madeleine Ngo, “A Timeline of How the Banking
       Finance capability for their valuable assistance. These       Crisis Has Unfolded,” The New York Times, dated 1
       individuals receive credit for improving this report; any     May 2023, available online at: https://www.nytimes.
       errors and omissions are those of the authors. NERA’s         com/2023/05/01/business/banking-crisis-failure-
       proprietary securities class action database and all          timeline.html.
       analyses reflected in this report are limited to federal    9 Jordan Novet, “AT&T’s Massive Data Breach Deepens
       case filings and resolutions.
                                                                     Crisis for Snowflake Seven Weeks After Hack Was
     2 NERA tracks securities class actions that have been           Disclosed,” CNBC, dated 12 July 2024, available online
       filed in federal courts. Most of these cases allege           at: https://www.cnbc.com/2024/07/12/snowflake-
       violations of federal securities laws; others allege          shares-slip-after-att-says-hackers-accessed-data.html.
       violations of common law, including breach of fiduciary     10 Jennifer Rigby and Bhanvi Satija, “WHO Declares
       duty, as with some merger-objection cases; still others
                                                                     End to COVID Global Health Emergency,” Reuters,
       are filed in federal court under foreign or state law. If
                                                                     dated 8 May 2023, available online at: https://www.
       multiple actions are filed against the same defendant,
                                                                     reuters.com/business/healthcare-pharmaceuticals/
       are related to the same allegations, and are in the
                                                                     covid-is-no-longer-global-health-
       same circuit, we treat them as a single filing. The
                                                                     emergency-who-2023-05-05/.
       first two actions filed in different circuits are treated
       as separate filings. If cases filed in different circuits   11 SPAC IPO figures taken from SPAC Data,
       are consolidated, we revise our count to reflect the          available online at: https://www.spacdata.com.
       consolidation. Therefore, case counts for a particular        Accessed 17 July 2024.
       year may change over time. Different assumptions for        12 “Dismissed” is used as shorthand for all class
       consolidating filings would probably lead to counts
                                                                     actions resolved without settlement; it includes
       that are similar but may, in certain circumstances,
                                                                     cases in which a motion to dismiss was granted
       lead observers to draw a different conclusion about
                                                                     (and not appealed or appealed unsuccessfully),
       short-term trends in filings. Data for this report
                                                                     voluntary dismissals, cases terminated by a
       were collected from multiple sources, including
                                                                     successful motion for summary judgment, or
       Institutional Shareholder Services, Dow Jones Factiva,
                                                                     an ultimately unsuccessful motion for class
       Bloomberg Finance, FactSet Research Systems,
                                                                     certification.
       Nasdaq, Intercontinental Exchange, US Securities and
       Exchange Commission (SEC) filings, complaints, case         13 For our settlement analyses, NERA includes
       dockets, and public press reports.                            settlements that have had the first settlement-
     3 Federal securities class actions that allege violations       approval hearing. We do not include partial
                                                                     settlements or tentative settlements that have
       of Rule 10b-5, Section 11, and/or Section 12 have
                                                                     been announced by plaintiffs and/or defendants.
       historically dominated federal securities class action
                                                                     For example, the analyses in this section exclude
       dockets and have often been referred to as “standard”
                                                                     the 2020 partial settlement involving Valeant
       cases. In the analyses of this report, standard cases
                                                                     Pharmaceuticals.
       involve registered securities and do not include cases
       involving crypto unregistered securities, which are         14 Katryna Perera, “On 2nd Bite, Apple Investors Get
       considered a separate category.                               Initial OK For $490M Deal,” Law360, dated 4 June
     4 In this study, crypto cases consist of two mutually           2024, available online at: https://www.law360.com/
                                                                     articles/1844258.
       exclusive subgroups: (1) crypto shareholder
       class actions, which include a class of investors           15 Hailey Konnath, “Under Armour to Pay $434M to
       in common stock, American depositary receipts/                End Securities Fraud Claims,” Law360, dated 21 June
       American depositary shares (ADR/ADS), and/or                  2024, available online at: https://www.law360.com/
       other registered securities, along with crypto- or            articles/1850514.
       digital-currency-related allegations; and (2) crypto        16 Katryna Perera, “$350M Google Privacy Settlement
       unregistered securities class actions, which do not
                                                                     Receives Initial Approval,” Law360, dated 9 April
       have class investors in any registered securities that
                                                                     2024, available online at: https://www.law360.com/
       are traded on major exchanges (New York Stock
                                                                     articles/1823471.
       Exchange, Nasdaq). We include crypto shareholder
       class actions in all our analyses that include standard     17 Bonnie Eslinger, “Zoom’s $150M Investor Deal Nears
       cases. Crypto unregistered securities class actions are       OK, But $50K Award Iffy,” Law360, dated 13 June
       excluded from some analyses, which is noted in the            2024, available online at: https://www.law360.com/
       titles of our figures.                                        articles/1847738.
     5 Most securities class action complaints include multiple    18 Henrik Nilsson, “Perrigo Inks $97M Deal with
       allegations. For this analysis, all allegations from the      Investors in Securities Fraud Suit,” Law360, dated 5
       complaint are included and thus the total number of           April 2024, available online at: https://www.law360.
       allegations exceeds the total number of filings.              com/articles/1822591.




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